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  8                         UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
  9
 10   DAWN MARCHELLE COLLINS,                 )   Case No.: 5:20-cv-01208-MAA
                                              )
 11                  Plaintiff,               )   ORDER AWARDING EQUAL
                                              )   ACCESS TO JUSTICE ACT
 12         vs.                               )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
 13   KILOLO KIJAKAZI,                        )   AND COSTS PURSUANT TO 28
      Acting Commissioner of Social           )   U.S.C. § 1920
 14   Security,                               )
                                              )
 15                  Defendant                )
                                              )
 16
 17         Based upon the parties’ Stipulation for the Award and Payment of Equal

 18   Access to Justice Act Fees, Costs, and Expenses:

 19         IT IS ORDERED that fees and expenses in the amount of $4,500.00 as

 20   authorized by 28 U.S.C. § 2412, and costs in the amount of Zero dollars ($00.00)

 21   as authorized by 28 U.S.C. § 1920, be awarded subject to the terms of the

 22   Stipulation.

 23   DATE: 09/22/2021

 24                               ___________________________________
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                                                 _______
                                                       ____________
                                        ONOORABLE MAR
                                  THE HONORABLE       RIA A. AUDERO
                                                   MARIA     AUDER
 25                               UNITEDD STATES
                                           TATES MAGISTRATE JUDGE
                                          ST                   JUD

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  1   Respectfully submitted,
  2   LAW OFFICES OF LAWRENCE D. ROHLFING
  3         /s/ Steven G. Rosales
      _________________________
  4   Steven G. Rosales
      Attorney for plaintiff Dawn Marchelle Collins
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